             Case 2:25-cr-00040-HDV
2/4/25, 3:04 PM                                     Document 18             Filed 02/04/25
                                                                            CM/ECF-DC V10.7.1.1   Page 1 of 8 Page ID #:73

                                      Query       Reports           Utilities    Help     What's New    Log Out

                                                                                                                        CLOSED
                                                                                                       2/04/2025
                                           U.S. District Court
                                                                     asi
                                       District of Hawaii (Hawaii)
                            CRIMINAL DOCKET FOR CASE #: 1:25-mj-00062-RT-1
                                          2:25-cr-00040-HDV-4

  Case title: USA v. Borge                                                              Date Filed: 01/30/2025

  Other court case number: 2:25-cr-00040-HDV Central District of                        Date Terminated: 02/04/2025
                           California


  Assigned to: MAGISTRATE JUDGE ROM
  TRADER

  Defendant (1)
  Clint Jordan Lopaka Nahooikaika Borge                                represented by Catherine P. Gutierrez
  TERMINATED: 02/04/2025                                                              The Law Office of Catherine Gutierrez,
  also known as                                                                       LLLC
  Whoops                                                                              1001 Bishop Street
  TERMINATED: 02/04/2025                                                              Ste 710
  also known as                                                                       Honolulu, HI 96813
  Jordan                                                                              808-532-3229
  TERMINATED: 02/04/2025                                                              Fax: 808-758-5359
                                                                                      Email: catherinegutierrezlaw@gmail.com
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED
                                                                                      Designation: CJA Appointment

  Pending Counts                                                                         Disposition
  None

  Highest Offense Level (Opening)
  None

  Terminated Counts                                                                      Disposition
  None

  Highest Offense Level (Terminated)
  None

  Complaints                                                                             Disposition
  18:2252A.F ACTIVITIES RE MATERIAL
  CONSTITUTING/CONTAINING CHILD
  PORNO, 18 U.S.C. § 2252A(g), Engaging
https://hid-ecf.sso.dcn/cgi-bin/DktRpt.pl?167789327228879-L_1_0-1                                                              1/4
             Case 2:25-cr-00040-HDV
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  in a Child Exploitation Enterprise; Central
                               Query Reports    Utilities     Help What's New Log Out
  District of California, 2:25-cr-00040-HDV



  Plaintiff
  USA                                                               represented by Mohammad Khatib
                                                                                   Office of the United States Attorney
                                                                                   Prince Kuhio Federal Building
                                                                                   300 Ala Moana Blvd Ste 6100
                                                                                   Honolulu, HI 96850
                                                                                   (808) 541-2850
                                                                                   Fax: (808) 541-2958
                                                                                   Email: mohammad.khatib@usdoj.gov
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED
                                                                                   Designation: Government
   Email All Attorneys
   Email All Attorneys inc. Terminated Defendants
   Email All Attorneys and Additional Recipients


   Date Filed            #    Docket Text
   01/30/2025                 Arrest (Rule 5) of Clint Jordan Lopaka Nahooikaika Borge.
                              (jni) (Entered: 01/30/2025)
   01/30/2025            1 DECLARATION of Cameron Busby as to Clint Jordan Lopaka Nahooikaika Borge.
                           (Attachments: # 1 Exhibit 1 - Indictment from the Central District of California; 2:25-cr-
                           00040-HDV, # 2 Exhibit 2 - Arrest Warrant Returned Executed)
                           (jni) (Entered: 01/30/2025)
   01/30/2025            2 MOTION to Detain by USA as to Clint Jordan Lopaka Nahooikaika Borge. (Khatib,
                           Mohammad) (Entered: 01/30/2025)
   01/30/2025            3 EO: as to Clint Jordan Lopaka Nahooikaika Borge - A Rule 5 (Out) Initial Appearance
                           is set for 1/31/2025 at 10:30 AM in Courtroom 5 before MAGISTRATE JUDGE ROM
                           TRADER.
                           (Attorney Catherine P. Gutierrez is provisionally appointed pending submission of
                           Defendant's Financial Affidavit.)

                              (MAGISTRATE JUDGE ROM TRADER)
                              (ab)
                              Modified on 1/30/2025 (ab) (Entered: 01/30/2025)

   01/31/2025            4 EP: INITIAL APPEARANCE Rule 5 (OUT) as to DEFENDANT CLINT JORDAN
                           LOPAKA NAHOOIKAIKA BORGE had on 1/31/2025.

                              Defendant Clint Jordan Lopaka Nahooikaika Borge ("Defendant") present and in custody.

                              Appointment of Counsel:

                              Defendant sworn to Financial Affidavit. The Court appoints Ms. Catherine Gutierrez as
                              counsel.

                              Initial Appearance:

https://hid-ecf.sso.dcn/cgi-bin/DktRpt.pl?167789327228879-L_1_0-1                                                         2/4
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                                                                    Filed 02/04/25
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                              Defendant charged by Indictment in the Central District of California. Ms. Gutierrez has
                                     Query Reports
                              reviewed  the Indictment withUtilities
                                                            Defendant.Help      What's New Log Out
                                                                          Defendant   acknowledges general understanding
                              of the charges.

                              Waiver of Rule 5 & 5.1:

                              Court presented with Waiver of Rule 5 & 5.1 Hearings form signed by Defendant. Court
                              confirms Defendant waives right to an identity hearing and production of a warrant. Court
                              finds Defendant's waiver to be knowingly, voluntarily and intelligently made. Waiver of
                              Rule 5 & 5.1 Hearings form filed.

                              Detention/Release:

                              Government has filed [ECF 2 ] Motion to Detain Defendant Without Bail. Court schedules
                              a Detention Hearing for 2/4/2025 at 10:30 a.m. in Courtroom 7 before Magistrate Judge
                              Wes Reber Porter.

                              Following the Court's ruling concerning detention/release, the Court will enter appropriate
                              order regarding Defendant's return/appearance date in the Central District of California.

                              Defendant is remanded to the custody of the U.S. Marshals Service.
                              Initial Appearance in Rule 5(c)(3) Proceedings as to Clint Jordan Lopaka Nahooikaika Borge held on 1/31/2025.
                              Detention Hearing is set for 2/4/2025 10:30 AM in Courtroom 7 before MAGISTRATE JUDGE WES REBER PORTER.


                              (FTR-CT CT 5 / 10:30 AM 10:37 AM)
                              (MAGISTRATE JUDGE ROM TRADER)
                              (jni) (Entered: 01/31/2025)
   01/31/2025            5 CJA 23 Financial Affidavit - by Clint Jordan Lopaka Nahooikaika Borge.
                           (jni) (Entered: 01/31/2025)
   01/31/2025            6 WAIVER of Rule 5 & 5.1 Hearings - by Clint Jordan Lopaka Nahooikaika Borge.
                           (jni) (Entered: 01/31/2025)
   01/31/2025            7 CJA 20 as to Clint Jordan Lopaka Nahooikaika Borge: Appointment of Catherine P.
                           Gutierrez, Esq. - Signed by MAGISTRATE JUDGE ROM TRADER on 1/31/2025.
                              Nunc Pro Tunc: 1/30/2025
                              (jni) (Entered: 01/31/2025)
   02/04/2025            8 EP: DETENTION HEARING as to Defendant Clint Jordan Lopaka Nahooikaika Borge
                           held.

                              AUSA Mohammad Khatib appeared on behalf of the United States.

                              Catherine Gutierrez appeared for Defendant.

                              Defendant present and in custody.

                              The Court held a Detention Hearing.

                              Discussion held.

                              The Court took judicial notice of the U.S. Pretrial Services' Report, other documents on file
                              and found the Defendant be detained as there is no condition or combination of conditions
                              that will reasonably assure the appearance of the Defendant as required and the safety of
                              the community.

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                              Government's Motion to Detain Defendant Without Bail, ECF No. 2 , is GRANTED.
                                      Query       Reports           Utilities   Help      What's New   Log Out
                              Defendant committed to the Central District of California. Commitment to Another District
                              signed and filed.

                              Defendant remanded to the custody of the U.S. Marshal Service.

                              Detention Hearing as to Clint Jordan Lopaka Nahooikaika Borge held on 2/4/2025
                              2 Motion to Detain as to Clint Jordan Lopaka Nahooikaika Borge: GRANTED

                              (FTR-CT 7 / 10:36 am - 10:45 am)
                              (MAGISTRATE JUDGE WES REBER PORTER)
                              (jo) (Entered: 02/04/2025)
   02/04/2025            9 COMMITMENT TO ANOTHER DISTRICT as to Clint Jordan Lopaka Nahooikaika
                           Borge - Signed by MAGISTRATE JUDGE WES REBER PORTER on 2/4/2025.
                              Defendant committed to the Central District of California
                              (jo) (Entered: 02/04/2025)
   02/04/2025           10 Transmittal Letter to the Central District of California, 2:25-cr-00040-HDV (CDCA), re:
                           Rule 5 Proceedings as to Clint Jordan Lopaka Nahooikaika Borge, dated February 4, 2025.
                           (jni) (Entered: 02/04/2025)




https://hid-ecf.sso.dcn/cgi-bin/DktRpt.pl?167789327228879-L_1_0-1                                                         4/4
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                                      MINUTES


CASE NUMBER:                 1:25-mj-00062-RT

CASE NAME:                   United States of America vs. Clint Jordan Lopaka
                             Nahooikaika Borge

ATTY FOR PLTF:               Mohammad Khatib

ATTY FOR DEFT:               Catherine P. Gutierrez

US PROB OFFICER:             Whitney Nakamura



     JUDGE:           Rom Trader            REPORTER:          FTR–CT 5

     DATE:            1/31/2025             TIME:              10:30 AM – 10:37 AM


COURT ACTION: EP:            INITIAL APPEARANCE – Rule 5 (OUT) as to
                             DEFENDANT CLINT JORDAN LOPAKA NAHOOIKAIKA
                             BORGE had on 1/31/2025.

Defendant Clint Jordan Lopaka Nahooikaika Borge (“Defendant”) present and in custody.

Appointment of Counsel:

Defendant sworn to Financial Affidavit. The Court appoints Ms. Catherine Gutierrez as
counsel.

Initial Appearance:

Defendant charged by Indictment in the Central District of California. Ms. Gutierrez has
reviewed the Indictment with Defendant. Defendant acknowledges general
understanding of the charges.

Waiver of Rule 5 & 5.1:

Court presented with Waiver of Rule 5 & 5.1 Hearings form signed by Defendant. Court
confirms Defendant waives right to an identity hearing and production of a warrant.
Court finds Defendant’s waiver to be knowingly, voluntarily and intelligently made.
Waiver of Rule 5 & 5.1 Hearings form filed.
Case 2:25-cr-00040-HDV Document 18           Filed 02/04/25    Page 6 of 8 Page ID #:78
  Case 1:25-mj-00062-RT Document 4           Filed 01/31/25    Page 2 of 2 PageID.32

Detention/Release:

Government has filed [ECF [2]] Motion to Detain Defendant Without Bail. Court
schedules a Detention Hearing for 2/4/2025 at 10:30 a.m. in Courtroom 7 before
Magistrate Judge Wes Reber Porter.

Following the Court’s ruling concerning detention/release, the Court will enter
appropriate order regarding Defendant’s return/appearance date in the Central District of
California.

Defendant is remanded to the custody of the U.S. Marshals Service.

Submitted by: Anjelica Barker, Courtroom Manager
Case 2:25-cr-00040-HDV Document 18   Filed 02/04/25   Page 7 of 8 Page ID #:79
  Case 1:25-mj-00062-RT Document 9   Filed 02/04/25   Page 1 of 1 PageID.37
Case 2:25-cr-00040-HDV Document 18   Filed 02/04/25   Page 8 of 8 Page ID #:80
  Case 1:25-mj-00062-RT Document 6   Filed 01/31/25   Page 1 of 1 PageID.34
